CENTRAL DISTRICT OF CALIFORNIA

Case 2:22-cv-09203-MEMF-KS Document 146 Filed 03/15/24 Page1of1 Page ID #:1030
UNITED STATES DISTRICT COURT

TRANSCRIPT ORDER FORM

Please use one form per court reporter per case, and contact court reporter

COURT USE ONLY

directly immediately after e-filing form. (Additional instructions on next page.)

DUE DATE:

la, Contact Person
for this Order

Clinton Brown

Number

2a. Contact Phone

310-985-9935

3a. Contact E-mail
Address

clinton@atlasinc.solar

1b. Attorney Name
(if different)

Number

2b. Attorney Phone

3b. Attorney E-mail
Address

4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)

Clinton Brown

16821 Edgar Street
Pacific Palisades, CA 90272

5. Name & Role of
Party Represented

Clinton Brown, Plaintiff

6. Case Name

Clinton Brown v. Clark R. Taylor, AICP, The Los Angeles County Department of
Regional Planning

7a. District Court
Case Number

22-cv-09203

7b. Appeals Court
Case Number

23-4131

8. INDICATE WHETHER PROCEEDING WAS (choose only one per form):

T] DIGITALLY RECORDED

TRANSCRIBED BY A COURT REPORTER; NAME OF COURT REPORTER: [Maria R. Bustillos

9. THIS TRANSCRIPT ORDER IS FOR: Appeal [—] Non-Appeal

[_] Criminal Civil

[|] CJA [-] USA [] FPD [_| In forma pauperis (Court order for transcripts must be attached)

10. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested, format(s), and delivery type):

You MUST check the docket to see if the transcript has already been filed, and if so,
provide the “Release of Transcript Restriction" date in column c, below.

a. HEARING(S) OR PORTIONS OF HEARINGS (Attach additional pages if necessary. If sealed, a court b. SELECT FORMAT(S (CM/ECE access included c. RELEASE OF TRANS. | q. DELIVERY TYPE
order releasing transcript to the ordering party must be attached here or emailed to : (S) with purchase of transcript.) RESTRICTION DATE | 30-day, 14-day, 7-day, 3-day, Daily, Hourly
transcripts_cacd@cacd.uscourts.gov.)
HEARING || Minute Order JUDGE PROCEEDING TYPE / PORTION ppp TEXT/ CONDEN- CM/ECF worp (Provide release date o; (Check with court reporter
DATE Docket# If requesting less than full hearing, specify portion (e.g., witness or time). ail ASCII PAPER SED ACCESS jExING efiled transcript, or check to befc ore choosing any delivery time
(if available) (name) CJA orders: indicate if openings, closings, voir dire, or instructions requested, (email) (email) (email) (web) certify none yet on file. ) sooner than "Ordinary-30.")
03/15/2024 | 144 | MEME |FullHearing O oO OO OO © OO |®@ None
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11. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC. CJA Orders: Explain necessity of non-appeal orders, orders for transcripts of proceedings involving only a co-defendant, & special authorizations to be
requested in Section 14 of CJA-24 Voucher (attach additional pages if needed).

12. ORDER & CERTIFICATION. By signing below, I certify that I will pay all charges (deposit plus additional), or, where applicable, promptly take all necessary steps to secure
payment under the Criminal Justice Act.

G-120 (06/18)

Date

03/15/2024

Signature

s/Clinton Brown

